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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN

  SUZANNE LEVINE,

  Plaintiff,

  vs

  ARBOR PROFESSIONAL SOLUTIONS, INC., and
  EQUIFAX INFORMATION SERVICES, LLC,
  a Georgia corporation, and
  EXPERIAN INFORMATION SOLUTIONS, INC., and
  TRANSUNION, LLC, a Georgia corporation,

  Defendants.
  __________________________________________/
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                      PLAINTIFF’S COMPLAINT AND JURY DEMAND

                                         JURISDICTION

          1.      Jurisdiction of this court arises under 15 U.S.C. §1681p.

          2.      This is an action brought by consumers for violation of the Fair Credit

  Reporting Act (15 U.S.C. §1681 et. seq [hereinafter “FCRA”] ).

          3.      This action is also brought under common law, and this court may

  exercise supplemental jurisdiction over the related state law claims arising out of

  the same nucleus of operative facts which give rise to the Federal law claims under

  28 U.S.C. §1367.




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                                          VENUE

         4.     The transactions and occurrences which give rise to this action

  occurred in Oakland County Michigan.

         5.     Venue is proper in the Eastern District of Michigan.

                                         PARTIES

         6.     The Parties to this lawsuit are:

          a.   Suzanne Levine, (“Plaintiff or “Ms. Levine”), is a resident of
          West Bloomfield, Michigan and is a consumer as defined by the Fair
          Credit Reporting Act, 15 U.S.C. §§

          b.    Defendant Arbor Professional Solutions, Inc., (“APS”) is a
          furnisher of information as contemplated by the Fair Credit
          Reporting Act (“FCRA”)15 U.S.C. §1681s 2(a) & (b), that regularly
          and in the ordinary course of business furnishes information to one
          or more consumer reporting agencies about consumer transactions
          or experiences with any consumer.

          c.   Defendant Equifax Information Services, LLC (“Equifax”)
          which is a Georgia company that maintains a registered agent in
          Ingham County, Michigan; and

          d.   Defendant Experian Information Solutions, Inc. (“Experian”)
          which is an Ohio company that maintains as registered agent in
          Oakland County, Michigan; General Allegations


          e.   Defendant Transunion, LLC, (“Transunion”), a Georgia
          corporation with its registered agent located in East Lansing,
          Michigan.

                                    General Allegations

         7.     In 2015, APS initiated a lawsuit against Plaintiff in the 52-3 Judicial

  District Court, in connection with an alleged debt to their client, the City Ferndale

  Ambulance, for emergency ambulance services. The lawsuit was entitled: City of

  Ferndale– Ambulance v. Suzanne Levine, Case No. 15-HP-0233-GC.



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           8.     In July of 2015, the parties settled the above referenced lawsuit and

  signed a mutual release which included the language:

             As a condition of this Agreement, Plaintiff agrees to cause the
             derogatory trade line referenced above related to the invoice
             #1460144 to be deleted as to Equifax, Experian and Transunion
             (the “Credit Bureaus”) within 30 days.

           9.     The above referenced trade line was not deleted by the City of

  Ferndale’s debt collector, APS. Upon information and belief, APS did not request the

  deletion.

           10.    When reviewing her credit reports subsequent to the above

  referenced settlement, Plaintiff noticed that APS was still reporting the Account

  which was supposed to be deleted based upon the legal binding agreement of the

  parties.

           11.    Ms. Levine’s counsel followed up with the attorney for the City of

  Ferndale after the upon referenced lawsuit was dismissed to be certain the trade

  line was deleted. Ms. Levine’s counsel was assured in writing that the deletion

  would be requested.

           12.    In November of, 2015, Plaintiff disputed the above referenced credit

  reporting with Equifax, Experian and Transunion, by certified mail. (Exhibit A),

  with adequate description and explanation as to why the accounts were reported in

  error.

           13.    Defendants Equifax, Experian and Transunion received the disputes

  and violated the law in response to these disputes as summarized below.




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            14.   APS received the disputes from the credit bureaus and then wrongly

  verified the inaccurate information with the credit bureaus and failed to delete the

  trade line as agreed.

            15.   As a result of the negative and inaccurate credit reporting, Plaintiff’s

  credit score and credit reputation was adversely affected and Plaintiff was denied

  credit.

            16.   Defendants were required to conduct a reinvestigation into this

  specific account on Plaintiff’s consumer report pursuant to 15 U.S.C. §1681i.

            17.   APS failed to conduct a reasonable investigation and wrongly verified

  inaccurate information in connection with Plaintiff’s credit reports.

            18.   APS failed to maintain reasonable procedures to assure the maximum

  possible accuracy of Plaintiff’s credit report.

            19.   The false information was and continues to be furnished by APS.

            20.   APS failed to reasonably reinvestigate under 15 U.S.C. § 1681s 2(b)

  and this failure was willful, and wrongly verified the inaccurate information.

            21.   As a result of APS’s willful failure to abide by 15 U.S.C. § 1681s 2(b),

  Plaintiff has suffered and continues to suffer monetary damages and inability to

  procure credit at a favorable rate, and/or denial of credit, as well as damage to

  credit reputation, attorney fees and costs.

            22.   Plaintiff seeks equitable damages, including correction or deletion of

  the subject trade line from Plaintiff’s credit reports, along with money damages,

  both actual and statutory, in whatever amount the jury finds Defendants liable plus




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  attorney fees, litigation costs and court costs, and the claims are otherwise within

  the jurisdiction of this Court.

         23.     Defendants Equifax, Experian and Transunion violated the law as

  detailed below.

                    COUNT I – FAIR CREDIT REPORTING ACT – APS

         24.     Plaintiff incorporates the preceding allegations by reference.

         25.     APS was required under 15 U.S.C. § 1681s 2(b), to respond to the

  request for reinvestigation initiated by Plaintiff through one or more credit

  reporting agencies by completing an inquiry into the facts underlying the trade line

  and providing accurate information to the credit reporting agencies regarding that

  trade line.

         26.     In the event that APS was unable to verify the information, which it

  had reported, they were required to advise the credit reporting agency of this fact.

         27.     Following the reinvestigation, APS reported the erroneous credit

  information with actual knowledge of errors, in violation of the FCRA, 15 U.S.C. §

  1681s 2(b).

         28.     Following the reinvestigation, APS reported the erroneous credit

  information and consciously avoided knowing that the credit information was

  inaccurate, in violation of the FCRA, 15 U.S.C. § 1681s 2(b).

         29.     Following the reinvestigation APS, reported credit information that

  was not in fact accurate, in violation of the FCRA, 15 U.S.C. § 1681s 2(b).




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         30.     APS willfully refused to properly to put in place adequate procedures

  to reinvestigate the inaccuracies in Plaintiff’s credit report in violation of 15 U.S.C. §§

  1681s 2(b) and 1681n.

         31.     In the alternative, APS negligently failed to put in place procedures to

  complete an adequate reinvestigation of disputed credit information in violation of

  15 U.S.C. §§ 1681s 2(b) and 168o.

         32.     APS willfully refused to properly reinvestigate the inaccuracies in

  Plaintiff’s credit report in violation of 15 U.S.C. §§ 1681s 2(b) and 1681n.

         33.     In the alternative, APS negligently failed to conduct a proper

  reinvestigation of Plaintiff’s credit reporting dispute in violation of 15 U.S.C. §§

  1681s 2(b) and 168io.

         34.     Plaintiff has suffered damages as a result of these violations of the

  FCRA, in an amount to be determined by the Court.

            COUNT II - VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                  BY EQUIFAX

         35.     Plaintiff incorporates the preceding allegations by reference.

         36.     Defendant Equifax prepared, compiled, issued, assembled,

  transferred, published and otherwise reproduced consumer reports regarding the

  plaintiff as that term is defined in 15 USC 1681a.

         37.     Such reports contained information about the Plaintiff that was false,

  misleading and inaccurate.

         38.     Equifax willfully refused and failed to maintain and/or follow

  reasonable procedures to assure maximum possible accuracy of the information it




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  reported to one or more third parties pertaining to the Plaintiff, in violation of 15

  USC 1681e(b).

         39.      In the alternative, Equifax negligently refused and failed to maintain

  and/or follow reasonable procedures to assure maximum possible accuracy of the

  information it reported to one or more third parties pertaining to the Plaintiff, in

  violation of 15 USC 1681e(b).

         40.      After receiving the Plaintiff’s consumer dispute to the APS trade line,

  Equifax willfully failed to conduct a reasonable reinvestigation as required by 15

  U.S.C. 1681i.

         41.      In the alternative, Equifax negligently failed to conduct a reasonable

  reinvestigation as required by 15 U.S.C. 1681i.

         42.      As a direct and proximate cause of Equifax’s negligent failure to

  perform its duties under the FCRA, the Plaintiff has suffered actual damages,

  including denial of credit, reduced opportunity for credit, increased costs, interest

  and fees for credit, along with emotional distress, humiliation and embarrassment.

         43.      Equifax is liable to the plaintiff by reason of its violation of the FCRA in

  an amount to be determined by the jury together with her reasonable attorneys’

  fees pursuant to 15 USC 1681o.

         WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment against

  Equifax for actual damages, costs, interest and attorneys’ fees.

           COUNT III - VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                 BY EXPERIAN

         44.      Plaintiff incorporates the preceding allegations by reference.




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         45.      Defendant Experian prepared, compiled, issued, assembled,

  transferred, published and otherwise reproduced consumer reports regarding the

  plaintiff as that term is defined in 15 USC 1681a.

         46.      Such reports contained information about the Plaintiff that was false,

  misleading and inaccurate.

         47.      Experian willfully refused and failed to maintain and/or follow

  reasonable procedures to assure maximum possible accuracy of the information it

  reported to one or more third parties pertaining to the Plaintiff, in violation of 15

  USC 1681e(b).

         48.      In the alternative, Experian negligently refused and failed to maintain

  and/or follow reasonable procedures to assure maximum possible accuracy of the

  information it reported to one or more third parties pertaining to the Plaintiff, in

  violation of 15 USC 1681e(b).

         49.      After receiving the Plaintiff’s consumer dispute to the APS trade line,

  Experian willfully failed to conduct a reasonable reinvestigation as required by 15

  U.S.C. 1681i.

         50.      In the alternative, Experian negligently failed to conduct a reasonable

  reinvestigation as required by 15 U.S.C. 1681i.

         51.      As a direct and proximate cause of Equifax’s negligent failure to

  perform its duties under the FCRA, the Plaintiff has suffered actual damages,

  including denial of credit, reduced opportunity for credit, increased costs, interest

  and fees for credit, along with emotional distress, humiliation and embarrassment.




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         52.    Equifax is liable to the plaintiff by reason of its violation of the FCRA in

  an amount to be determined by the jury together with her reasonable attorneys’

  fees pursuant to 15 USC 1681o.

         WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment against

  Equifax for actual damages, costs, interest and attorneys’ fees.

           COUNT IV - VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                  BY TRANSUNION
         53.  Plaintiff incorporates the preceding allegations by reference.

         54.    Defendant Transunion prepared, compiled, issued, assembled,

  transferred, published and otherwise reproduced consumer reports regarding the

  plaintiff as that term is defined in 15 USC 1681a.

         55.    Such reports contained information about the Plaintiff that was false,

  misleading and inaccurate.

         56.    Transunion willfully refused and failed to maintain and/or follow

  reasonable procedures to assure maximum possible accuracy of the information it

  reported to one or more third parties pertaining to the Plaintiff, in violation of 15

  USC 1681e(b).

         57.    In the alternative, Transunion negligently refused and failed to

  maintain and/or follow reasonable procedures to assure maximum possible

  accuracy of the information it reported to one or more third parties pertaining to

  the Plaintiff, in violation of 15 USC 1681e(b).

         58.    After receiving the Plaintiff’s consumer dispute to the APS trade line,

  Transunion willfully failed to conduct a reasonable reinvestigation as required by

  15 U.S.C. 1681i.



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          59.    In the alternative, Transunion negligently failed to conduct a

   reasonable reinvestigation as required by 15 U.S.C. 1681i.

          60.    As a direct and proximate cause of Transunion’s negligent failure to

   perform its duties under the FCRA, the Plaintiff has suffered actual damages,

   including denial of credit, reduced opportunity for credit, increased costs, interest

   and fees for credit, along with emotional distress, humiliation and embarrassment.

          61.    Transunion is liable to the plaintiff by reason of its violation of the

   FCRA in an amount to be determined by the jury together with her reasonable

   attorneys’ fees pursuant to 15 USC 1681o.

          WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment against

   Transunion for actual damages, costs, interest and attorneys’ fees.

                                 COUNT V – DEFAMATION

          62.    Plaintiff incorporates the preceding allegations by reference.

          63.    Defendants caused to be published one or more written false

   statements which were intended to impeach Plaintiff’s honesty, integrity, credit

   worthiness and/or reputation.

          64.     The defamatory statements were not accurate, including, but not
   limited to, the following:

          a) That Plaintiff had a derogatory collection account with APS.

          65.    Plaintiff is not a public figure.

          66.    The statements imputed by Defendants to the public through the

   three major credit reporting agencies represents a slur on Plaintiff’s character by

   Defendants, including her honesty, integrity, virtue, or reputation, and credit

   worthiness.


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          67.     The defamatory statements resulted in damages to Plaintiff.

          WHEREFORE, Plaintiff demands judgment against Defendants for injunctive

   relief and damages in an amount deemed at time of trial to be just, fair, and

   appropriate.

                          DEMAND FOR JUDGMENT AND RELIEF

          Accordingly, Plaintiff requests:

          a. Statutory and actual damages in an amount to be determined by the Court.

          b. Deletion of the Account being wrongfully reported to any credit bureau by
          any Defendants.

          c. Statutory costs and attorney fees.

          d. Injunctive relief, including, but not limited to, deletion of the account.

          e. Compensatory and/or punitive damages.

          f. Any other relief, which this Court deems, appropriate.

          g. Trial by Jury.



                                                Respectfully submitted,

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